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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

    UNITED STATES OF AMERICA                       )
                                                   )
                         v.                        )      DOCKET NO. 06-10427-PBS
                                                   )
    JEFFREY SHIELDS                                )
                                                   )
    UNITED STATES OF AMERICA                       )
                                                   )
                         v.                        )      DOCKET NO. 06-10439-PBS
                                                   )
    JOEL WETMORE                                   )
                                                   )


    UNITED STATES OF AMERICA                       )
                                                   )
                         v.                        )      DOCKET NO. 06-10449-PBS
                                                   )
    CHARLES PEAVY                                  )
                                                   )

           ASSENTED-TO MOTION FOR ADDITIONAL TIME TO FILE BRIEFS

       Now come defendants Jeffrey Shields, Joel Wetmore, and Charles Peavy through counsel

and request that this Court allow them an additional 14 days to file briefs raising constitutional

challenges to the sexually dangerous person statute, 18 U.S.C. § 4248. The briefs are presently

due on April 23, 2007; the defendants request that they be allowed to file the briefs on May 7,

2007. In support of this request counsel state that they require the additional time to prepare the

briefs due to very heavy caseloads. If the Court grants this motion, defense counsel and counsel

for the government will file an agreed-upon schedule for the government’s response, hearing, and

completion of discovery, for the Court’s approval.

       The Assistant United States Attorneys assigned to these cases, Mark Quinlivan and

Rayford Farquhar, have no objection to this request.
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                                                         JEFFREY SHIELDS
                                                         JOEL WETMORE
                                                         CHARLES PEAVY
                                                         By their attorneys,

                                                         /s/ Page Kelley
                                                         Page Kelley
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                                  CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non registered participants on April 11, 2007.

                                                      /s/ Page Kelley
                                                      Page Kelley
